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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                 EASTERN DIVISION


 THE RELIGIOUS SISTERS OF MERCY,
      et al.,

                        Plaintiffs,

                v.                                       No. 3:16-cv-386

 ERIC D. HARGAN, Acting Secretary of
       the United States Department of
       Health and Human Services, et al.,

                        Defendants.


 CATHOLIC BENEFITS ASSOCIATION,
     et al.,

                        Plaintiffs,

                v.                                       No. 3:16-cv-432

 ERIC D. HARGAN, Acting Secretary of
       the United States Department of
       Health and Human Services, et al.,

                        Defendants.



                                           STATUS REPORT

       In response to this Court’s August 24, 2017 Order, ECF No. 56, Defendants hereby provide

the following update “concerning all rulemaking proceedings initiated as to the challenged rule as

well as any contemplated enforcement actions.” ECF No. 56 at 3. See also 45 C.F.R. § 92 (the

“Rule”). As previously described, Defendants are reevaluating the reasonableness, necessity, and

efficacy of the Rule that is challenged in this case and, as part of that process, are assessing the
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issues identified by the District Court for the Northern District of Texas in Franciscan Alliance,

Inc. v. Burwell, Case No. 7:16-cv-108 (“Franciscan Alliance”), when it granted a nationwide

preliminary injunction that enjoins the same Rule that is challenged here. Id., Docket No. 105

(July 10, 2017).

       A draft of a proposed rule is going through the clearance process within the Executive

Branch. Specifically, Defendants are engaging with the Department of Justice (“DOJ”) on a draft

of a proposed rule pursuant to Executive Order 12,250 (“Leadership and Coordination of

Nondiscrimination Laws”). HHS and DOJ are working to complete the Executive Order 12,250

process. Once complete, the proposed rule must go through an inter-agency clearance process

managed by the Office of Management and Budget (“OMB”) under Executive Order 12,866.

       Defendants anticipate that after the clearance process is complete, the future rulemaking

proceedings will involve notice and comment. The time required to complete both the clearance

process and notice and comment rulemaking proceedings will depend largely on inter-agency

coordination and on the public comments on the proposed rule. Defendants anticipate the

submission of the proposed rule to OMB in due course, and will inform the Court when that occurs.

       Defendants request an opportunity to continue reconsidering the Rule and do not request

that the Court close this case. Meanwhile, Defendants will continue to abide by the nationwide

preliminary injunction that was ordered in Franciscan Alliance, which remains in full force and

effect, and Defendants will therefore not enforce the Rule’s prohibition against discrimination on

the basis of gender identity or termination of pregnancy. Thus, HHS is not currently contemplating

any enforcement actions pursuant to the Rule. And HHS has not referred or transferred a complaint

that it has received under the Rule to the EEOC, nor has the EEOC received any referrals pursuant

to the Rule.




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      Defendants therefore request that the Court maintain the stay in this case.

Dated: November 22, 2017                            Respectfully Submitted,

                                                    CHAD A. READLER
                                                    Principal Deputy Assistant Attorney General

                                                    JENNIFER D. RICKETTS
                                                    Director, Federal Programs Branch

                                                    JOEL McELVAIN
                                                    Assistant Director, Federal Programs Branch

                                                    /s/ Emily B. Nestler
                                                    EMILY B.NESTLER
                                                    U.S. Department of Justice
                                                    Civil Division, Federal Programs Branch
                                                    20 Massachusetts Ave. NW
                                                    Washington, DC 20530
                                                    phone: (202) 616-8489
                                                    fax: (202) 616-8470
                                                    email: emily.b.nestler@usdoj.gov

                                                    Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 22, 2017, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s CM/ECF System.

                                                        /s/ Emily B. Nestler
                                                        EMILY B.NESTLER
